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                                         NMDFREV#PQDWFRP
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                                          Attorneys for Waste Management, Inc.,
                                          WM Intellectual Property Holdings, LLC,
                                          Waste Management National Services, Inc., and
                                          James L. Denson, Jr.
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 'DYLG06WHLQ
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Case 1:17-cv-00604-CFC-SRF Document 21 Filed 07/21/17 Page 3 of 20 PageID #: 267

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       9   &21&/86,21




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 AbraxisBioscience, Inc. v. Navinta LLC
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 Bell Atl. Corp. v. Twombly
     86  

 Carpet Group Int’l v. Oriental Rug Importers Ass’n, Inc.
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 Chou v. University of Chicago
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 Creative Compounds, LLC v. Starmark Labs.
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 CryoLife, Inc. v. C.R. Bard, Inc.
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 Czarnik v. Illumina, Inc.
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 eBay Inc. v. PartsRiver, Inc.
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 EMC Corp. v. Zerto, Inc.
   &$1R*06:/ ''HO-XO\ 

 Enzo APA & Son, Inc. v. Geapag A.G.
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 FDIC v. Bathgate
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 Gruenberg v. Aetna Ins. Co.
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 Henry v. Associated Indem. Corp.
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 In re Burlington Coat Factory Sec. Litig.
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 Int’l Customs Associates, Inc. v. Ford Motor Co.
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 Izquierdo v. Sills
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 Japan Petroleum Co. v. Ashland Oil, Inc.
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 Jardin v. DATAllegro
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 Mayer v. Belichick
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 MCV, Inc. v. King-Seeley Thermos Co.
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 MedImmune, Inc. v. Genentech, Inc.
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 Morrow v. Microsoft
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 Mortensen v. First Fed. Sav. & Loan Ass’n
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 Nespresso USA, Inc. v. Ethical Coffee Co. SA
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 Pearson v. Component Tech. Corp.
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 Prasco, LLC v. Medicis Pharm. Corp.
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 Shukh v. Seagate Technology, LLC
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 Site Microsurgical Sys., Inc. v. Cooper Cos.
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 Streck, Inc. v. Research & Diagnostic Sys., Inc.
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 United States v. Bestfoods
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 Vakharia v. Swedish Covenant Hosp.
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 5XOHVDQG6WDWXWHV

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  DJDLQVWIRXUWHHQLQGLYLGXDOKRVSLWDOHPSOR\HHVIRUEUHDFKRIDFRQWUDFWEHWZHHQSODLQWLIIDQG

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  DQ\SXUSRUWHGEUHDFKHVWKHUHRI%HFDXVHQRFODLPRIUHOLHIFDQEHVWDWHGDJDLQVW:0,IRU

  &RXQWV,, ,,,WKHVHFRXQWVDUHDOVRVXEMHFWWRGLVPLVVDOXQGHU5XOH E  

                 ³,WLVKRUQERRNODZWKDWDQRQVLJQDWRU\WRDFRQWUDFWFDQQRWEHQDPHGDVD

  GHIHQGDQWLQDEUHDFKRIFRQWUDFWDFWLRQXQOHVVLWKDVWKHUHDIWHUDVVXPHGRUEHHQDVVLJQHGWKH

  FRQWUDFW´Int’l Customs Associates, Inc. v. Ford Motor Co.)6XSS 6'1<

   ³*HQHUDOO\DFRQWUDFWELQGVQRRQHEXWWKHSDUWLHVWRLWDQGDQDFWLRQRQDFRQWUDFW

  FDQQRWEHPDLQWDLQHGDJDLQVWDSHUVRQZKRLVQRWDSDUW\WRWKHFRQWUDFW´%&-6&RQWUDFWV

  ³>7KHPRYDQW@IDLOVWRFLWHDVLQJOHFDVHIRUWKHSURSRVLWLRQWKDWnon-partiesWRDFRQWUDFW

  FDQEHKHOGOLDEOHIRUDEUHDFKRIDFRQWUDFWXDOGXW\RIJRRGIDLWKDQGIDLUGHDOLQJ´FDIC v.

  Bathgate)G G&LU  XQGHU1HZ-HUVH\ODZGHQ\LQJDVIXWLOHPRWLRQWRD

  DPHQGFRXQWHUFODLPVWRLQFOXGHDFRXQWIRUEUHDFKRIWKHGXW\RIJRRGIDLWK 

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  >DJUHHPHQW@DQGWKXVFDQQRWEHKHOGOLDEOHIRUDQ\EUHDFKRILW³ &DOLIRUQLDODZZKLFK

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  Indem. Corp.&DO$SSG±&DO5SWU WK'LVW  FLWLQJ

  Gruenberg v. Aetna Ins. Co.3G   ZKHUH³WKHUH>LV@QRGLUHFWFRQWUDFWXDO

  UHODWLRQVKLSEHWZHHQ>WKHSDUWLHV@´WKHUHLVQREDVLVIURPZKLFK³DEUHDFKRIFRQWUDFWDFWLRQ

  FRXOGSURSHUO\VSULQJ´ 1RUFRXOG:0,EHKHOGOLDEOHVLPSO\EHFDXVHLWLVWKHLQGLUHFWSDUHQW

  RI:016³,WLVDJHQHUDOSULQFLSOHRIFRUSRUDWHODZGHHSO\LQJUDLQHGLQRXUHFRQRPLFDQGOHJDO



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Case 1:17-cv-00604-CFC-SRF Document 21 Filed 07/21/17 Page 13 of 20 PageID #: 277

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  V\VWHPVWKDWDSDUHQWFRUSRUDWLRQLVQRWOLDEOHIRUWKHDFWVRILWVVXEVLGLDULHV.” United States

  v. Bestfoods86   LQWHUQDOTXRWDWLRQPDUNVRPLWWHG 

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  EHFDXVHWKHUHFDQEHQRUHOLHISURYLGHGE\DSDUW\WKDWKDVQROLDELOLW\IRUIDLOXUHWRVWDWHDFODLP

  RQZKLFKUHOLHIFDQEHJUDQWHGXQGHU5XOH E  

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  PDWWHULVFDOOHGLQTXHVWLRQPD\RUGHUFRUUHFWLRQRIWKHSDWHQWRQQRWLFHDQGKHDULQJRIall parties

  concernedDQGWKH'LUHFWRUVKDOOLVVXHDFHUWLILFDWHDFFRUGLQJO\´ HPSKDVLVDGGHG %HFDXVH

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  KDVIRXQGWKDWµPHUHRZQHUVKLSRIDVXEVLGLDU\GRHVQRWMXVWLI\WKHLPSRVLWLRQRIOLDELOLW\RQWKH


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  SDUHQW¶´Nespresso USA, Inc. v. Ethical Coffee Co. SA&$1R*06VOLSRSDW '

  'HO-XO\  TXRWLQJPearson v. Component Tech. Corp.)G G&LU

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  FLUFXPVWDQFHVDSDUHQWFRUSRUDWLRQZLOOQRWEHKHOGOLDEOHIRUWKHREOLJDWLRQVRILWVVXEVLGLDU\´ 

                    Chou v. University of Chicago)G )HG&LU ZKLFK

  3ODLQWLIIVFLWHGWR'HIHQGDQWVLQFRUUHVSRQGHQFHGRHVQRWDOWHUWKLVUHVXOWChouQRWHGRQO\WKDW

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  ChouKRZHYHUWKHSDUWLHVVRXJKWWREHLQFOXGHGLQWKHDFWLRQZHUH  WKHSDWHQWRZQHUV

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  DQRWKHUSDUW\ZKLFKZRXOGEHFRQWUDU\WRWKHDERYHFLWHGZHOOHVWDEOLVKHGODZ

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  FRUSRUDWLRQKDVQRVWDQGLQJWRVXHIRULQIULQJHPHQWRISDWHQWVRZQHGE\DVXEVLGLDU\Abraxis

  Bioscience, Inc. v. Navinta LLC)G )HG&LU  GLVPLVVLQJFDVHEHFDXVH

  SDUHQWFRPSDQ\GLGQRWKDYHVWDQGLQJWRVXHDWLQFHSWLRQRIWKHODZVXLWHYHQWKRXJKLWVZKROO\

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  DSURSHUSDUW\HYHQWKRXJKKLVLQWHUHVWVKDYHEHHQDVVLJQHGEDVHGPHUHO\RQKLVVWDWXVDVDQ

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      ILQGLQJWKDWDOOQDPHGGHIHQGDQWVKDGDQHFRQRPLFLQWHUHVWLQWKHSDWHQW 

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                                                  Attorneys for Waste Management, Inc.,
                                                  WM Intellectual Property Holdings, LLC,
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                                                  James L. Denson, Jr.
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  Attorneys for Plaintiffs Marco Doda, DODA
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  Attorneys for Plaintiffs Marco Doda, DODA
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